 Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.676 Page 1 of 10



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                                                  u,s. DISTHICT COURT
                  IN THE UNITED STATES DISTR~l §..t.pUR(f P \r       52
               FOR THE DISTRICT OF UTAH, CENtRAL DIVISION
                                                     DISTRICT OF U1AH
JAMES W. EDWARDS, derivatively on
behalf of HEADWATERS INCORPORATED';'\::::'PIITv-r:'=-ER{-"
and individually on behalf of himself and all
other similarly situated stockholders of      Civil Case No.: 2: 13-CV-00330
HEADWATERS INCORPORATED,
                                                  Judge Bruce S. Jenkins
        Plaintiff,

vs.                                                   JUDGMENT AND ORDER
                                             OF DISMISSAL WITH PREJUDICE
KIRK A. BENSON, E.J. GARN,
RAYMOND J. WELLER, R SAM
CHRISTENSEN, WILLIAM S.
DICKINSON, MALYN K. MALQUIST,
BLAKE O. FISHER, JR., JAMES A.
HERICKHOFF, GRANT E. GUSTAFSON
and SYLVIA SUMMERS,

      Defendants,
and

HEADWATERS INCORPORATED,

      Nominal Defendant.
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.677 Page 2 of 10




       On August 28,2014, this l1:tatter came before the Court for hearing pursuant to the Order

of this Court, dated May 19, 2014 ("Order"), on the application of the Settling Parties (as defined

in ,-r 1.20 of the Stipulation of Settlement) for approval of the settlement set forth in the

Stipulation of Settlement dated May 16, 2014 ("Stipulation"). Due and adequate notice having

been given to the Class (as defined in     ~   1.2 of the Stipulation) and to Current Headwaters'

Stockholders (as defined in   ~   1.4 of the Stipulation) as required in said Order, and the Court

having considered all papers filed and proceedings had herein and otherwise being fully

informed in the premises and good cause appearing therefore, IT IS HEREBY ORDERED,

ADJUDGED AND DECREED that:

       1.      This Judgment and Order of Dismissal with Prejudice ("Judgment") incorporates

by reference the definitions in the Stipulation, and all capitalized tenns used herein shall have the

same meaning as set forth in the Stipulation.

       2.      This Court has jurisdiction over the subject matter of the Action, including all

matters necessary to effectuate the Settlement, and over all parties to the Action, including

Plaintiff, the Class, and Defendants.

       3.      The Court finds that, for purposes of settlement only, the Action is a proper class

action pursuant to Federal Rules of Civil Procedure 23(a) and (b)(1)(A). Specifically, this Court

finds that: (a) the members of the Class are so numerous that separate joinder of each member is

impracticable; (b) there are questions of law or fact common to the Class, including whether the

disclosures made by Headwaters in connection with the 2010 Incentive Compensation Plan were

adequate and whether the Director Defendants breached their fiduciary duties to members of the

Class; (c) the claims or defenses of the Plaintiff are typical of the claims or defenses of the Class
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.678 Page 3 of 10




in that they all arise from the same alleged course of conduct and are based on the same legal

theories; (d) Plaintiff and his counsel have fairly and adequately protected the interest of

Headwaters and the Class; (e) the prosecution of separate actions by individual members of the

Class would create a risk of either (i) inconsistent or varying adjudications with respect to

individual members of the Class which would establish incompatible standards ·of conduct for

Defendants, or (ii) adjudications with respect to individual members of the Class which would as

a practical matter be dispositive of the interests of the other members of the Class who are not

parties to the adjudications or substantially impair or impede their ability to protect their interest;

and (f) there were allegations that Defendants acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive relief or corresponding

declaratory relief with respect to the Class as a whole. Thus, for the purposes of settlement only,

the Action is a proper class action pursuant to Federal Rules of Civil Procedure 23(a) and

(b)(l)(A).

        4.     The Action is certified as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b )(1)(A) on behalf of the Class consisting of all owners of Headwaters

Incorporated ("Headwaters" or the "Company") common stock as of December 31, 2012, the

record date for the determination of stockholders who were entitled to vote at the 2013 Annual

Meeting, including any and all of their respective successors in interest, predecessors,

representatives, trustees, executors, administrators, heirs, assigns, or transferees, immediate and

remote, and any person or entity acting for or on behalf of, or claiming under, any of them, and

each of them. Excluded from the Class are Defendants, members of the immediate family of any

of Defendants, any entity in which any of Defendants has or had a controlling interest, and the
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.679 Page 4 of 10




legal representatives, heirs, successors or assigns of any such excluded person. Also excluded

from the Class are those record and beneficial owners of Headwaters common stock who validly

requested exclusion from the Class, to the extent that they were able to do so under Rule 23 of

the Federal Rules of Civil Procedure, pursuant to the Notice.

       5.        For purposes of the Settlement only, Plaintiff James W. Edwards is hereby

certified as the representative of the Class and Eduard Korsinsky and Steven J. Purcell of the law

firm Levi & Korsinsky, LLP and Nelson Abbott of the Abbott Law Firm are hereby appointed

Class Counsel.

       6.        The Court finds that the Summary Notice of Proposed Settlement of Derivative

and Class Action (the "Summary Notice") published in Investor's Business Daily and

Headwaters' dissemination ofthe Notice of Proposed Settlement of Derivative and Class Action

("Notice") to Headwaters stockholders by causing the Notice to be filed with the United States

Securities and Exchange Commission on Fonn 8-K provided the best notice practicable under

the circumstances of these proceedings and of the matters set forth therein, including the

Settlement set forth in the Stipulation, to all persons entitled to such notice, and said notices fully

satisfied the requirement of the Federal Rules· of Civil Procedure, including Rule 23.1 ( c), Rule

23(c)(2)(A), and the requirements of due process.

       7.        All members ofthe Class and all Current Headwaters' Stockholders are bound by

this Judgment, as full and adequate notice of the proceedings was given and a full opportunity to

be heard was provided to members of the Class and to all Current Headwaters' Stockholders.

        8.       The Court finds that during the course of this Action, the Settling Parties and their

respective counsel, at all times, complied with Rule 11 ofthe Federal Rules of Civil Procedure.
 Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.680 Page 5 of 10




       9.      The Court finds that the Settlement is fair, reasonable, and adequate as to each of

the Settling Parties, and hereby finally approves the Stipulation and the Settlement in all respects,

finds that the Settlement provides substantial benefits to Headwaters and its stockholders, and

orders the Settling Parties to perform its terms to the extent the Settling Parties have not already

done so.

        10.    The Action and all claims contained therein, as well as all of the Released Claims,

are dismissed with prejudice. As between Plaintiff, the Class, and the Defendants, the Settling

Parties are to bear their own costs, except as otherwise provided in the Stipulation.

        11.     Upon the Effective Date of the Judgment, Plaintiff, in his capacity as an

individual, on behalf of all other similarly situated stockholders of Headwaters, and derivatively

on behalf of Headwaters, Headwaters, all members of the Class, and Current Headwaters'

Stockholders shall have fully released and forever discharged, and shall forever be barred from

initiating, continuing, filing or otherwise prosecuting, against the Released Parties any Released

Claims, including Unknown Claims, that were, or could have been, asserted in the Demand

Letter or the Action. The Released Claims shall not include any claims to enforce the terms of

this Stipulation.

        12.     Upon the Effective Date, each of the Related Parties shall be deemed to have, and

by operation of the Judgment shall have, fully released and forever discharged Plaintiff,

Plaintiffs' Counsel, the Class, Class Counsel, and all Current Headwaters' Stockholders (solely

in their capacity as Headwaters' Stockholders) from all claims arising out of the institution,

prosecution, Settlement, or resolution of the Demand Letter or the Action, including Unknown

Claims provided, however, that the Related Parties shall retain the right to enforce in the Court
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.681 Page 6 of 10




the terms of the Stipulation. Nothing herein shall in any way impair or restrict the rights of any

of the Settling Parties to enforce the terms of the Stipulation. Further, nothing herein shall limit

or restrict in any way the rights of any Director Defendants under Headwaters' by-laws, or other

applicable law, equity, or contract, including without limitation any and all rights of

indemnification and advancement of fees and costs, and nothing herein shall be construed to

imply that the Defendants are releasing any claims against any insurer or reinsurer.

       13.     The Court hereby approves the $500,000 payment to be made by Headwaters to

Plaintiff's Counsel for attorney's fees and expenses subject to the terms and conditions set forth

in ,-r 5 of the Stipulation. The Court finds the fee award is fair and reasonable based upon the

substantial benefits that the Settlement conferred on Headwaters and its stockholders.

        14.    The Court hereby approves an incentive fee award for Plaintiffjn the amount of

$2,000. The incentive fee award shall be paid by Plaintiff's Counsel to Plaintiff out of the

$500,000 payment referenced in ,-r 13 herein. Defendants do not bear any responsibility for

payment of the incentive fee award.

        15.    The Settling Parties have expressly waived any and all provisions, rights, and

benefits conferred by any law of any state or territory of the United States, or principle of

common law, which is similar, comparable, or equivalent to California Civil Code § 1542, which

provides:

        A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
        CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
        FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF
        KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
        OR HER SETTLEMENT WITH THE DEBTOR.
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.682 Page 7 of 10




The Settling Parties acknowledge, and members of the Class and all Current Headwaters'

Stocldl0lders are hereby deemed to have acknowledged, that the waiver of Unknown Claims was

separately bargained for and is a key element of the Settlement.

       16.     Nothing herein shall in any way impair or restrict the rights of any of the Settling

Parties to enforce the terms ofthe Stipulation.

       17.     Neither the Stipulation nor the Settlement, nor any act perfonned or document

executed pursuant to or in furtherance of the Stipulation or the Settlement: (i) is or may be

deemed to be or may be used as an admission of, or evidence of, the validity of any Released

Claim, or of any wrongdoing or liability of the Defendants; or (ii) is or may be deemed to be or

may be used as an admission of, or evidence of, any fault or omission of any of the Defendants

in any proceeding of any nature. Defendants may file the Stipulation and/or Judgment in any

action that has been or may be brought against him, her, or it in order to support a defense or

counterclaim based on principles of res judicata, collateral estoppel, full faith and credit, release,

good faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

preclusion or similar defense or counterclaim.
                                                         v
        18.    Without affecting the finality of this Judgment in any way, this Court hereby

retains continuing jurisdiction over: (i) implementation of the Settlement; and (ii) the Settling

Parties for the purpose of construing, enforcing, and administering the Stipulation and

Settlement, including, if necessary, setting aside and vacating this Judgment, on motion of a

party, to the extent consistent with and in accordance with the Stipulation if any condition set

forth in ~ 6.1 ofthe Stipulation fails to occur.
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.683 Page 8 of 10




         19.   This Judgment is a final, appealable judgment and should be entered forthwith by

the Clerk of the Court in accordance with Rule 58 ofthe Federal Rules of Civil Proc~dure.

         IT IS SO ORDERED.

Dated:   '1ft[!
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    Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.684 Page 9 of 10




    So Stipulated:

J   /s/ Nelson T. Abbott                      /s/ Clara J. Shin
    Nelson T. Abbott (6695)                   Clara J. Shin (pro hac vice)
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                                              Raymond J. Weller, R Sam Christensen,
    /s/ Sarah A. Good                         William S. Dickinson, Malyn K. Malquist,
    Sarah A. Good (pro hac vice)              Blake 0. Fisher, Jr., and James A.
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                                              Attorney for Sylvia Summers and Grant E.
                                              Gustafton
                                              (Permission.on File with Nelson Abbott)
Case 2:13-cv-00330-BSJ Document 70 Filed 09/04/14 PageID.685 Page 10 of 10




                                CERTIFICATE OF SERVICE

                                   nd
       I hereby certify that on the 2 day of September 2014, I caused to be served a true copy
ofthe foregoing [PROPOSED] JUDGMENT AND ORDER OF DISMISSAL WITH
PREJUDICE, via email, to the following parties:

       Blain J. Benard (5661)                      Matthew L. Lalli (6105)
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                                                   /s/ Nicole Mecham
                                                   Nicole Mecham
                                                   Paralegal for Nelson Abbott
